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  SEP 1610\S                 UNITED STATES DISTRICT COURT FOR
                             THE EASTERN DISTRICT OF MISSOURI
  BY MA\L                                       EasternDMSiON

   Danielle M. Speed                                )
                                                    )          Complaint for a Civil Case
                                                    )
                                                    )
                                                    )
                                                    )
   (Write the full name of each plaintiff                       Case No.
                                                    )
   who is filing this complaint. If the                         (to be assigned by Clerk of
                                                    )
   names of all the plaintiffs. cannot fit in                   District Court)
                                                    )
   the space above, please write ''see
                                                    )
   attached" in the space and attach an
                                                    )            Plaintiff requests trial by jury:
   additional page with the full list of
                                                    )
   names.)                                                        0Yes (Z}No
                                                    )
   v.                                               )
   Aqua Finance Inc                                 )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
   (Write the full name of each defendant.
                                                    )
   The caption must include the names of
                                                    )
   all of the parties. Fed. R. Civ. P. lO(a).
                                                    )
   Merely listing one party and writing "et
                                                    )
   al." is insufficient. Attach additional
                                                    )
   sheets if necessary.)


                                        CIVIL COMPLAINT

                                                NOTICE:

   Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
   public access to electronic court files. Under this rule, papers filed with the court should not
   contain: an individual's full social security number or full birth date, the full name of a person
   known to be a minor, or a complete financial account number. A filing may include only: the last
   four digits of a social security number, the year of an individual's birth, a minor's initials, and the
   last four digits ofa financial account number.

   Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness
   statements, or any other materials to the Clerk's Office with this complaint.

   In order for your complaint to be filed, it must be accompanied by the $400. 00 filing fee or an
   application to proceed without prepaying fees or costs.
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I.   The Parties to This Complaint

     A.     The Plaintiff(s)
     Provide the information below for each plaintiff named in the complaint. Attach
     additional pages if needed.

            Name                  Danielle M. Speed
            Street Address        130 Langtree Dr
            City and County       Wentzville, St. Charles

            State and Zip Code    IMO 63385

            Telephone Number 1864-986-8738
            E-mail Address   jdaniellespeed@yahoo.com




     B.     The Defendant(s)

     Provide the information below for each defendant named in the complaint, whether the
     defendant is an individual, a government agency, an organization, or a corporation. For
     an individual defendant, include the person's job or title (if known). Attach additional
     pages if needed.



     Defendant No. 1

            Name                  jAqua Finance Inc
            Job or Title
            Street Address        I
                                  1 Corporate D
            City and County       !Wausau
             State and Zip Code   IWI 54401
             Telephone Number 1715-848-5425
             E-mail Address


             (If more than one defendant is named in the complaint, attach an additional
             page providing the same information for each additional defendant. If you are
             suing for violation of your civil rights, you must state whether you are suing
             each defendant in an official capacity, individual capacity, or both.)




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II.   Basis for Jurisdiction
      Federal courts are courts of limited jurisdiction (limited power). Generally, only three
      types of cases can be heard in federal court. Provide the information for this case.
      (Include all information that applies to your case)

      A.       Federal question
      List the specific federal statutes, federal treaties, and/or provisions of the United States
      Constitution that are at issue in this case.
      This is an action for damages brought by plaintiff Danielle M. Speed against defendant's Aqua Finance Inc.
      for violations of the Fair Debt collection Practices act, 15 U.S.C 1692, St seq. (hereafter the "FDCPA"), and
      other common law claims. These laws prohibit debt collectors from engaging in abusive, deceptive, false
      representation of the debt, responsibilities of furnisher accurate information to consumer reporting agencies
      and unfair collection practices.




      B.       Suit against the Federal Government, a federal official, or federal agency
      List the federal officials or federal agencies involved, if any.




      C.       Diversity of Citizenship
      These are cases in which a citizen of one State sues a citizen of another State or nation,
      and the amount at stake is more than $75,000. In a diversity of citizenship case, no
      defendant may be a citizen of the same State as any plaintiff.


                1.      The Plaintiff(s)

                         The plaintiff, (name)    ~~~~~~~~~~~~~
                                                                                              , is a citizen of the
                         State of (name)


                        (If more than one plaintiff is named in the complaint, attach an additional
                        page providing the same information for each additional plaintiff.)




                                                        3
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           2.     The Defendant(s)

           If the defendant is an individual

                  The defendant, (name)                                                , is a citizen

                  of the State of (name)   ~~~~~~~~~~~~~
                                                                                     Or is a citizen

                   of (foreign nation)   ~~~~~~~~~~~~~~~~~~~




           If the defendant is a corporation

                  The defendant, (name)    ~~~~~~~~~~~~~~~~~-




                  is incorporated under the laws of the State of (name)

                                                                 , and has its principal place of
                  ~~~~~~~~~~~~~~~-




                   business in the State of (name)   ~~~~~~~~~~~~~~
                                                                                                  Or

                   is incorporated under the laws of the State of (foreign nation)


                   ~~~~~~~~~~~~~~~~
                                                                    , and has its principal place

                   of business in (name)


                   (If more than one defendant is named in the complaint, attach an
                   additional page providing the same information for each · additional
                   defendant.)

            3.    The Amount in Controversy

           The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
           owes or the amount at stake----is more than $75,000, not counting interest and
           costs of court, because (explain):




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ill.    Statement of Claim
Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

         1.       What happened to you?
         2.       When did it happen?
         3.       Where did it happen?
         4.       What injuries did you suffer?
         5.       What did each defendant personally do, or fail to do, to harm you?
Plaintiff Danielle Speed is an adult individual residing in Wentzville MO. In or around Aug. 2018. At all pertinent times
hereto, defendant was hired to collect a debt relating to a debt originally owed to Aqua Finance lnc.(hereafter the
"debt''). Defendant acted in a false, deceptive, misleading and unfair manner by communicating and reporting false,
inaccurate information to the three major credit bureau. Defendant acted in a false, deceptive, misleading and unfair
manner by engaging in any conduct the natural consequence of which is to harass, oppress, or abuse any person in
connection with the collection of a debt by mail. My family saw what happened. No one else was involved.
Defendant's conduct, including but not limited to leaving phone calls, messages and letter of communication
asserting plaintiff owes money to defendant's debt that does not belong to plaintiff, constitutes an invasion of privacy.
The conduct of defendant refuse to remove inaccurate false information was a direct cause, as well as a substantial
factor in bringing about the serious injuries, damages and harm to plaintiff that are outlined more fully above and, as a
result, defendant is liable to compensate plaintiff for the full amount of actual, compensatory and punitive damages,
as well as such other relief, permitted under the law. Defendant's conduct after all three major credit agencies
Equifax, Experian and TransUnion conducted their own investigation and found that defendant had in fact been
reporting false and inaccurate information deleted the inaccurate information as per state and federal laws required,
however defendant continued to harassing plaintiff through mail communication, constitutes and invasion of privacy
and harassment violations. Defendants negligence to responsible report accurate information to the credit agencies
harmed plaintiff.




IV.      Relief
         State briefly and precisely what damages or other relief you want from the Court. Do
         not make legal arguments.
         As a result of defendant's conduct, plaintiff has sustained actual damages, including, but not limited to injury
         to plaintiffs reputation, invasion of privacy, damage to plaintiffs credit, out-of-pocket expenses, emotional
         and mental pain and anguish, embarrassment, humiliation, damage to reputation and pecuniary loss and will
         continue to suffer same for an indefinite time in the future, and respectfully requests that this Court enter
         judgment in favor of Danielle Speed and against Aqua Finance in an amount in excess of $100,000 and
         award plaintiff compensatory damages sustain along with any other relief that the court deems appropriate.


                                                            5
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         Do you claim the wrongs alleged in your complaint are continuing to occur now?

                                              Yes~           No   D
                Do you claim actual damages for the acts alleged in your complaint?

                                              Yes   IZ'J     No   D
                             Do you claim punitive monetary damages?

                                              Yes~           No   D
 If you indicated that you claim actual damages or punitive monetary damages, state the
 amounts claimed and the reasons you claim you are entitled to recover these damages.
      $100,000 for damage to plaintiffs credit, out-of-pocket expenses, emotional and mental pain and anguish
      embarrassment, humiliation, damage to reputation and pecuniary loss and will continue to suffer.




V.    Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

      I agree to provide the Clerk's Office with any changes to my address where case-related
      papers may be served. I understand that my failure to keep a current address on file with
      the Clerk's Office may result in the dismissal of my case.




       I declare under penalty of perjury that the foregoing is true and correct.




                                Signed this   I     12       Iday ofcl==S=e=p=te=m=b=e=r=:=!'' 20 ~-

                                Signature of Plaintiff(s)      'B ~
                                                              \)-OitllZN              S~
                                                         6
